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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA :
                         :
    v.                   :                           CRIMINAL NO. 21-CR-244 (CKK)
                         :
                         :
ANTHONY GRIFFITH         :


             MOTION TO WITHDRAW DUPLICATIVE FILING

 Mr. Anthony Griffith, through his attorneys, Nicole Cubbage and Kira Anne West, respectfully

 files this Motion to Withdraw Duplicative Filing and requests that the duplicative motion filed

 in error be withdrawn.

     In support of this motion defendant states the following:

     1.    Counsel for defendant inadvertently uploaded two copies of the Defendant’s Motion

          in Limine as to Certain Subjects.

     2. The Docket numbers for the duplicative motions are ECF 92 and ECF 94

     3. It is requested that ECF 94 be withdrawn as it is the same motion as ECF 92.

     .
                                              Respectfully Submitted



                                              By: Nicole Cubbage



                                                 /s/
                                              Nicole Cubbage
                                              DC Bar No. 999203
                                              712 H. Street N.E., Unit 570
                                              Washington, D.C. 20002

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                            By: Kira Anne West



                                /s/
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                                     Certificate of Service

I certify that a copy of the forgoing was filed electronically on ECF for all parties of record on
                                  this 7h day of February, 2023.
                                          ____/s/______
                                          Nicole Cubbage
                                  Attorney for Anthony Griffith




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